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 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   ERIC V. KERSTEN, Bar #226429
     Assistant Federal Defender
 3   Designated Counsel for Service
     2300 Tulare Street, Suite 330
 4   Fresno, California 93721-2226
     Telephone: (559) 487-5561
 5
     Attorney for Defendant
 6   ALFREDO F. RINCON
 7
 8                                 IN THE UNITED STATES DISTRICT COURT
 9                              FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                       )   No. 1:08-cr-00224-3 OWW
                                                     )
12                          Plaintiff,               )
                                                     )   AMENDED
13          v.                                       )   STIPULATION TO EXONERATE
                                                     )   CASH BOND AND RECONVEY FUNDS;
14   ALFREDO F. RINCON ,                             )   ORDER THEREON
                                                     )
15                          Defendant.               )
                                                     )
16                                                   )
17          IT IS HEREBY STIPULATED by and between the parties hereto, through their respective
18   counsel, LAUREL J. MONTOYA, Assistant United States Attorney, attorney for the Plaintiff, and ERIC
19   V. KERSTEN, Assistant Federal Defender, attorney for Defendant Alfredo F. Rincon, that the cash bond
20   posted for the pre-trial release of defendant be exonerated, and that the funds be returned to Donald
21   Myers,1053 Sumatra Street, Hayward, California 94544, phone: (510)782-6893.
22          On July 18, 2008, Donald Myers posted a $100,000 cash bond to secure Mr. Rincon’s pretrial
23   release. Thereafter, on December 18, 2009, pursuant to a stipulation between the parties, the court signed
24   an order reducing the bond amount from $100,000 to $50,000, and directing that $50,000 of the original
25   $100,000 cash bond be returned to Mr. Myers.
26          On May 3, 2010, Mr. Rincon appeared before District Court Judge Oliver W. Wanger and was
27   sentenced after having previously changed his plea to guilty pursuant to a plea agreement. Mr. Rincon
28   was sentenced to a term of probation after having complied with all conditions of his pretrial release.
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 1           Based on the foregoing, it is respectfully requested that $50,000, constituting the remaining one-
 2   half of the $100,000 bond initially posted in this matter (Receipt #CAE 100003844), be immediately
 3   exonerated and reconveyed to Donald Myers. Mr. Myers’ mailing address is 1053 Sumatra Street,
 4   Hayward, California 94544. His telephone number is (510)782-6893.
 5
 6           DATED: May 5, 2010                           BENJAMIN B. WAGNER
                                                          United States Attorney
 7
 8                                                        /s/ Laurel J. Montoya
                                                          LAUREL J. MONTOYA
 9                                                        Assistant U.S. Attorney
                                                          Attorney for Plaintiff
10
11           DATED: May 5, 2010                           DANIEL J. BRODERICK
                                                          Federal Defender
12
13                                                        /s/ Eric V. Kersten
                                                          ERIC V. KERSTEN
14                                                        Assistant Federal Defender
                                                          Attorney for Defendant
15                                                        ALFREDO F. RINCON
16
17                                                     ORDER
18           IT IS SO ORDERED. The bond in the above-captioned case is exonerated and the remaining
19   funds shall be reconveyed to Donald Myers.
20           DATED: May 5, 2010
21
22                                                        /s/ OLIVER W. WANGER
                                                          Hon. Oliver W. Wanger
23                                                        U.S. District Court Judge for the
                                                          Eastern District of California
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27
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     Rincon: Stipulation and Order to Exonerate Bond       2
